1 Reported in 259 N.W. 556.
This case was argued at the same time as was In re Estate of Monfort, 193 Minn. 594, 259 N.W. 554, the opinion in which is filed herewith. The same issues were raised in each, and that case is controlling on this. *Page 600 
In the instant case it was stipulated that the stock of Minnesota corporations owned by the decedent at the time of her death was all at her domicil in the state of New Jersey, except that certain shares were at that time on deposit for safekeeping only in a vault in Minneapolis and were not pledged or otherwise made use of within the state of Minnesota. Such facts showed affirmatively that the shares had nositus for inheritance tax purposes in Minnesota. Hence the decision that the tax was erroneously paid and the executor legally entitled to a refund was correct.
Affirmed.